                                                                                            FILED
                                                                                      February 09, 2022
                                      United States District Court                   CLERK, U.S. DISTRICT COURT
                                       Western District of Texas                     WESTERN DISTRICT OF TEXAS
                                        San Antonio Division                                      MGR
                                                                                  BY: ________________________________
                                                                                                          DEPUTY
    United States of America,
           Plaintiff,

           v.                                          Case No. SA-19-CR-00905-DAE(2)

    Nancy Almaguer,
          Defendant.

    and

    Wells Fargo Bank, N.A.,
           Garnishee.

                          Ex Parte Application for Writ of Garnishment

          The United States of America makes application pursuant to the Mandatory Victim

Restitution Act (MVRA), 18 U.S.C. § 3613, and 28 U.S.C. §§ 3202 and 3205 to the Clerk of the

United States District Court for the Western District of Texas to issue a writ of garnishment upon

the property of the Defendant, who is a judgment debtor of the United States.1 On November 29,

2021, the Court sentenced Defendant Nancy Almaguer to 18 months of imprisonment and three

years of supervised release, a $100.00 mandatory special assessment and $52,604.52 in restitution

after she pled guilty to one count of Conspiracy to Defraud the United States by Paying and

Receiving Healthcare Kickbacks in violation of 18 U.S.C. § 371. (See JCC, Doc. No. 152). Upon

Defendant’s sentence, a federal tax type lien arose and was automatically and statutorily imposed

on all of his property for collection of the outstanding restitution. See 18 U.S.C. § 3613.

          The writ of garnishment is sought in connection with this criminal judgment in the amount

of $52,704.52 against the Defendant Nancy Almaguer, Social Security Number ***-**-7938,



1 Applications for FDCPA writs are necessarily submitted ex parte without notice to judgment debtors and
their insiders until after the process has been served on whomever is holding the subject property to prevent
the transfer or dissipation of non-exempt assets. Once the United States certifies that process has been
served, the ex parte restriction on this application and its related filings may be lifted.
whose last known address is in San Antonio, Texas 78261.2 According to the records of the United

States District Clerk for the Western District of Texas, the current principal balance of

the judgment debt is $52,704.52 as of February 8, 2022. The judgment bears interest at the

rate of 0.290%.

       Not less than thirty (30) days have elapsed since demand was made on the Defendant for

payment of the debt, and the Defendant has failed to satisfy the debt. The Garnishee, its affiliates,

successors, or assigns is believed to owe or will owe money or property to the Defendant, or is in

possession, custody, or control of property of the Defendant, which property constitutes a

substantial non-exempt interest of the Defendant.

       The name and address of the Garnishee and/or its authorized agent is:

                                    Wells Fargo Bank, N.A.
                               c/o Corporation Service Company
                       d/b/a CSC-Lawyers Incorporating Service Company
                                  211 E. 7th Street, Suite 620
                                     Austin, Texas 78701

                                                      Respectfully submitted,

                                                      ASHLEY C. HOFF
                                                      UNITED STATES ATTORNEY
                                                By: /s/ Todd R. Keagle
                                                    TODD R. KEAGLE
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                                                    Email: Todd.Keagle@usjoj.gov

2 Pursuant to Fed. R. Crim. P. 49.1, the defendant’s social security number has been redacted to
the last four digits and the Defendant’s home address has been redacted to the city and state to
prevent public disclosure. Upon request of the court, the full social security number and address
will be provided in camera.
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ATTORNEYS FOR UNITED STATES
